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In the United States Court of Federal Claims
                              OFFICE OF SPECIAL MASTERS

******************** *
ANA ORTEGA,              *
                         *
             Petitioner, *                           No. 12-703V
                         *                           Special Master Christian J. Moran
                         *
v.                       *                           Filed: January 21, 2015
                         *
SECRETARY OF HEALTH      *                           Attorneys’ fees and costs; award
AND HUMAN SERVICES,      *                           in the amount to which
                         *                           respondent does not object.
             Respondent. *
******************** *

Ronald C. Homer, Conway, Homer & Chin-Caplan, Boston, MA, for petitioner.
Amy P. Kokot, United States Dep’t of Justice, Washington, DC, for respondent.

               UNPUBLISHED DECISION ON FEES AND COSTS 1

       On January 21, 2015, respondent filed a stipulation of fact concerning final
attorneys’ fees and costs in the above-captioned matter. Previously, on January 9,
2015, petitioner formally submitted a draft application for attorneys’ fees and
costs. Upon review of petitioner’s application, respondent raised objections to
certain items. Based on subsequent discussions, petitioner amended her
application to request $ 37,954.63, an amount to which respondent does not object.
The Court awards this amount.

       On October 17, 2012, Ana Ortega filed a petition for compensation alleging
that the influenza (“flu”) vaccine, which she received on November 17, 2011,
caused her to suffer a shoulder injury. Petitioner received compensation based

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          The E-Government Act of 2002, Pub. L. No. 107-347, 116 Stat. 2899, 2913 (Dec. 17,
2002), requires that the Court post this decision on its website. Pursuant to Vaccine Rule 18(b),
the parties have 14 days to file a motion proposing redaction of medical information or other
information described in 42 U.S.C. § 300aa-12(d)(4). Any redactions ordered by the special
master will appear in the document posted on the website.
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upon the parties’ stipulation. Decision, filed Aug.13, 2013. Because petitioner
received compensation, she is entitled to an award of attorneys’ fees and costs. 42
U.S.C. § 300aa-15(e).

       Petitioner seeks a total of $37.954.63 in attorneys’ fees and costs for her
counsel. Additionally, in compliance with General Order No. 9, petitioner states
that she incurred $45.37 in out-of-pocket litigation expenses while pursuing this
claim. Respondent has no objection to the amount requested for attorneys’ fees
and costs.

      After reviewing the request, the Court awards the following:

      a. A lump sum of $37,954.63 in the form of a check made payable to
         petitioner and petitioner’s attorney, Ronald C. Homer, Esq., for
         attorneys’ fees and other litigation costs available under 42 U.S.C. §
         300aa-15(e).

      b. A lump sum of $45.37, payable to petitioner, Ana Ortega, for costs
         she incurred in pursuit of her petition.

      The Court thanks the parties for their cooperative efforts in resolving this
matter. The Clerk shall enter judgment accordingly.

     Any questions may be directed to my law clerk, Christina Gervasi, at (202)
357-6521.

      IT IS SO ORDERED.

                                              s/Christian J. Moran
                                              Christian J. Moran
